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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

                                              )
 DEFINITION SERVICES INC.,                    )
 a British Virgin Islands corporation,        )
                                              )
                     Plaintiff,               )
                                              )
       v.                                     )    C.A. No. 1:21-cv-00741-RTD
                                              )
 GVA CAPITAL LTD., a Cayman                   )
 Islands exempted company,                    )
                                              )
                    Defendant.                )

               STIPULATION AND ORDER TO EXTEND TIME

      WHEREAS, on January 11, 2022, this Court signed a Letter of Request

seeking documents and testimony from Nariman Gadzhiev for use in these

proceedings;

      WHEREAS, on or about May 31, 2022, the District Court of Kriens scheduled

Mr. Gadzhiev’s examination (the “Examination”) for September 22, 2022;

      WHEREAS, in light of various delays in the U.S. proceedings, Plaintiff

Definition Services Inc. (“Definition”) and Defendant GVA Capital Ltd. (“GVA”)

have met and conferred and agree that a brief continuance of the Examination would

better conserve, and result in better use of, the parties’ and the courts’ resources;

      NOW, THEREFORE, Definition and GVA, by and through their undersigned

counsel, hereby stipulate and agree as follows:
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      1.     The parties agree that it is in all parties’ interests and would result in an

Examination record more helpful to this Court for Mr. Gadzhiev’s Examination to

be deferred by approximately three months.

      2.     Subject to the approval of this Court, the parties request that the District

Court of Kriens provide alternative dates for Mr. Gadzhiev’s Examination between

January 16, 2023 and February 28, 2023, or as soon as practicable thereafter, that

are convenient for the District Court of Kriens.

                                            RICHARDS, LAYTON & FINGER, P.A.

                                            /s/ Brock E. Czeschin
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Dated: September 7, 2022


    IT IS SO ORDERED this 14 day of September 2022.



                                   The Honorable Maryellen Noreika
                                   United States District Judge




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